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                                                                       Friday, 13 July, 2018 05:39:39 PM
                             UNITED STATES DISTRICT COURT                  Clerk, U.S. District Court, ILCD
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

                MOTION FOR ORDER REQUIRING THE GOVERNMENT
                 TO COMPLY WITH RULE 12(b)(4)(B), FED.R.CRIM.P.

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and moves this Court, pursuant to the Fourth, Fifth, Sixth, and Eighth

Amendments to the United States Constitution, and Rules 12(b)(4)(B) and 16,

Fed.R.Crim.P., for an order requiring the Government to disclose to the defense notice of

any and all evidence or information, including all information subject to disclosure under

Rule 16 in the possession, custody, or control of the government, or the existence of

which is known, or by the exercise of due diligence could become known to the

government, which evidence or information the government presently or at any time

contemplates or considers using in its case-in-chief at guilt or penalty trial, and which

evidence may be the subject of a motion to suppress evidence pursuant to Rule

12(b)(3)(C), Fed.R.Crim.P.

       Such notice should include, but not be limited to:




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              (a)    Evidence that was obtained through any warrantless search or

seizure, or that relates to or was derived from any such search or seizure regarding the

defendant or any cooperating witness;

              (b)    Evidence that was obtained through the execution of any warrant,

or that relates to or was derived from any such warrant regarding the defendant or any

cooperating witness;

              (c)    Evidence that was obtained through any electronic, visual, or

mechanical surveillance, or that relates to or was derived from any such surveillance

regarding the defendant or any cooperating witness, including but not limited to, any

type of interception of any phone communication, conversation with another person, or

physical activity;

              (d)    Evidence that was obtained through any use of a beeper, GPS, cell

site location, or other tracking device, or that relates or was derived from any such

beeper or other tracking device regarding the defendant or any cooperating witness;

              (e)    Evidence that was obtained through any use of a mail cover, or that

relates to or was derived from any such mail cover regarding the defendant or any

cooperating witness;

              (f)    Any evidence relating to any identification procedure regarding the

defendant or any cooperating witness including, but not limited to the exhibition or

display of the defendant's or any cooperating witness’ photograph, likeness, image, or


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voice recording to anyone; any lineup that included the defendant or any cooperating

witness; and any production of a composite regarding defendant or any cooperating

witness.

              (g)     Any written, recorded, or oral statements of the defendant or any

cooperating witness, or any other written, recorded, or oral statements by others

intended to be offered as a statement of the defendant or any cooperating witness. This

request shall include, but is not limited to, notice of all recorded telephone

conversations involving the defendant while confined at both the Macon County Jail

and Livingston County Jail which the Government will seek to use in its case-in-chief at

guilt or penalty trial. This request shall also include, but is not limited to, notice of all

recorded telephone conversations involving cooperating witness Charles Hill and the

defendant while both were confined at the Macon County Jail which the Government

will seek to use in its case-in-chief at guilt or penalty trial, and which evidence may be

the subject of a motion to suppress evidence pursuant to Rule 12(b)(3)(C), Fed.R.Crim.P.

       As grounds therefore, Defendant states as follows:

       1. On October 3, 2017, a grand jury sitting in the Central District of Illinois

returned a superseding indictment charging the Defendant with one count of

kidnapping resulting in death in violation of 18 U.S.C. §1201(a)(1), and two counts of

making false statements in violation of 18 U.S.C. §1001(a)(2). (R. 26). If convicted of the

offense alleged in Count 1, the Defendant could face a potential sentence of the death

penalty.


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       2. On February 14, 2018, the Court entered a detailed Scheduling Order setting

trial for April, 2019 and imposing additional filing deadlines. The Scheduling Order

required the government to disclose all Rule 16 material and evidence required

pursuant to Brady and Giglio, a list of expert witnesses to be called in the government’s

case-in-chief, and expected evidence in support of aggravating factors no later than May

18, 2018. (R. 67).

       3. As of this date, the defense has received approximately 11,500 pages

of written discovery, fifty-eight disks containing audio and video recordings,

photographs, computer and telephone forensics, telephone records, and hundreds (if

not thousands) of jail calls and text messages involving the defendant and at least one

government witness, Charles Hill. At present, and as detailed in defense counsel’s

motion to compel Rule 16 discovery filed July 13, 2018, the Government has resisted

defense counsels’ written and oral requests for notice of the Government’s intent to

offer specific items of evidence and jail calls and text messages, deferring instead to its

“open file” policy in this case and the thousands of items of evidence it has previously

produced in discovery.

       4.      Rule 12(b)(4)(B), Fed.R.Crim.P., provides that “At the arraignment or as

soon afterward as practicable, the defendant may, in order to have an opportunity to

move to suppress evidence under Rule 12(b)(3)(C), request notice of the government's

intent to use (in its evidence-in-chief at trial) any evidence that the defendant may be

entitled to discover under Rule 16.”


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       5.     “The rule provides a mechanism to insure that the defendant knows of the

government's intention to use evidence to which the defendant may want to object.”

United States v. Lujan, 530 F. Supp. 2d 1224, 1244 (D.N.M. 2008). As stated in the

advisory committee notes to the 1974 amendment to Rule 12, “[a]lthough the defendant

is already entitled to discovery of such evidence prior to trial under Rule 16, Rule 12

makes it possible for him to avoid the necessity of moving to suppress evidence which

the government does not intend to use.” Although few circuit courts of appeal have

addressed the notice requirements of Rule 12(b)(4)(B), at least one circuit court, and a

host of district courts, have held that the existence of the government’s “open file”

policy relating to pretrial discovery is not sufficient to comply with the Rule’s notice

requirement. United States v. de la Cruz–Paulino, 61 F.3d 986, 993 (1st Cir. 1995).

       6.     In Cruz–Paulino, the government designated that it intended to introduce

certain evidence in its case-in-chief at trial, and stated that any other evidence it

intended to introduce would be noticed before trial. Id. at 992. The government,

however, failed to notify the defendants that it intended to introduce two specific pieces

of evidence. In holding that the government violated then Rule 12(d)(2), the First Circuit

reasoned:

              To the extent that the government's open files contain
              information that is subject to Rule 16 discovery, Rule 12(d)(2)
              creates a notice requirement. The open file policy does not,
              in and of itself, satisfy this notice requirement because it
              does not specify which evidence the government intends to
              use at trial. Providing open-file discovery does not satisfy
              Rule 12(d)(2) because the defendant is still left in the dark as
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              to exactly what evidence, discoverable under Rule 16, the
              government intends to rely upon in its case in chief at trial.
              Id. at 993 (internal quotations and citations omitted).

       7.     Numerous district courts have followed the reasoning of the First Circuit

in Cruz-Paulino and have ordered the government to give the defense pretrial notice of

its intent to introduce all evidence in its case-in-chief at trial that arguably may be

subject to a motion to suppress under Rule 12(b)(3)(C). See United States v. Cheatham, 500

F.Supp.2d 528, 534–35 (W.D.Pa.2007) (“[W]hen the Government has an open file policy

with regard to its prosecution, this policy does not comply with Rule 12(b)(4)(B)

‘because it does not specify which evidence the government intends to use at trial.’ ”)

(quoting Cruz–Paulino, 61 F.3d at 993); United States v. Anderson, 416 F. Supp. 2d 110, 112

n. 1 (D.D.C. 2006) (rejecting government's argument that it satisfied Rule 12(b)(4)(B) by

providing open-file discovery and giving notice that it intended to use all of materials

provided to defendant pursuant to that policy, and stating that the notice must consist

of “the evidence that will appear on the government's exhibit list for trial.”); United

States v. De Rong Shang, 2012 WL 194418 * 6 (D.Nev. 2012)(“With regard to the intent-to-

use evidence, the government is ordered to provide the defendant with notice of any

evidence it intends to use in its ‘evidence-in-chief’....”); United States v. Anh The Duong,

2010 WL 532513 (N.D.Cal. 2010)(in a federal death penalty case, granting discovery of

the actual evidence that the government intended to use in its case-in-chief).

       8.     The notice requested in this motion has not been provided by the

Government, despite defense counsel’s numerous requests. Defendant urges this Court
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to follow the First Circuit’s reasoning in Cruz–Paulino, and the district court cases which

have adhered to it, because those cases are consistent with, and are mandated by, the

plain language of the rule (i.e. “...notice of the government's intent to use (in its

evidence-in-chief at trial) any evidence...”)

       9.     Moreover, the Government’s refusal to provide notice under Rule

12(b)(4)(B) unfairly forces defense counsel to defend against the entirety of the

enormous volume of Government discovery in this case, and to unnecessarily expend

time and labor searching for and/or anticipating what “needles in the Government’s

haystack” of discovery and evidence it intends to offer in its case- in-chief at the guilt

and penalty phases of trial, that may be subject to a motion to suppress and that must

be filed, per this Court’s scheduling order, by August 24, 2018. Therefore, such notice

will meet the purpose of the rule to reduce the needless filing of suppression motions

that are not at issue, and will conserve valuable court resources by avoiding litigation

on irrelevant searches or interviews.




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       WHEREFORE, Defendant requests that the Court order the Government to

disclose to the defense notice of the evidence it intends to use in its case-in-chief at guilt

and penalty phases of trial as specified herein.

              Respectfully submitted,

              /s/Elisabeth R. Pollock                     /s/ George Taseff
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                              CERTIFICATE OF SERVICE

      I hereby certify that on July 13, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

                                          /s/Elisabeth R. Pollock
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